Case 6:23-mj-01120-EJK Document 12 Filed 02/06/23 Page 1 of 1 PageID 35




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                           CASE NO: 6:23-mj-1120-EJK

BRANDON CLINT RUSSELL



                            FINDING OF PROBABLE CAUSE

       On the evidence presented at the preliminary hearing, I find that there is probable cause to

believe that the offenses charged in the complaint have been committed and that the defendant

committed them. It is therefore,

       ORDERED that Brandon Clint Russell is held to answer in the Middle District of

Florida where the prosecution is pending.

       DONE and ORDERED in Orlando, Florida on February 6, 2023.
